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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


  NAVY SEAL #1, et al.,

                  Plaintiffs,

                      v.                         Case No. 8:21-cv-2429-SDM-TGW

  JOSEPH R. BIDEN, JR., in his official
  capacity as President of the United
  States, et al.,
                  Defendants.



                   NOTICE OF SUPPLEMENTAL AUTHORITY

       Pursuant to Local Rule 3.01(i), Defendants respectfully provide notice that on

 Defendants respectfully provide notice that the Supreme Court has granted the

 government’s application for a partial stay in Austin v. U.S. Navy SEALs 1-26, No.

 21A477 (U.S. Mar. 25, 2022).

       The plaintiffs in U.S. Navy SEALs 1-26, like Plaintiffs in this case, are military

 service members who contend that they are entitled to exemptions from military

 COVID-19 vaccination requirements under the Religious Freedom Restoration Act

 (“RFRA”). The district court in U.S. Navy SEALs 1-26 granted a preliminary

 injunction similar to the injunction that Plaintiff requests here, prohibiting the

 military from applying its COVID-19 vaccination policies to the plaintiffs and “from

 taking any adverse action against Plaintiffs on the basis of Plaintiffs’ requests for


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 religious accommodation.” U.S. Navy SEALs 1-26 v. Biden, No. 21-cv-1236, 2022 WL

 34443, at *14 (N.D. Tex. Jan. 3, 2022). The Supreme Court granted the

 government’s request to stay that injunction “insofar as it precludes the Navy from

 considering respondents’ vaccination status in making deployment, assignment, and

 other operational decisions.” Order at 1, Austin v. U.S. Navy SEALs 1-26, 595 U.S.

 ___ (2022). Justice Kavanaugh observed in a concurring opinion that a stay was

 warranted because the district court had “in effect inserted itself into the Navy’s

 chain of command, overriding military commanders’ professional military

 judgments,” and because “even accepting that RFRA applies in this particular

 military context, RFRA does not justify judicial intrusion into military affairs in this

 case.” Id. at 2 (Kavanaugh, J., concurring). The Supreme Court’s decision granting

 a partial stay in U.S. Navy SEALs 1-26 necessarily rejected the reasoning of the district

 court in entering preliminary injunctive relief in that case, and confirms that this

 Court should deny similar requests from Plaintiffs and non-parties in this matter, see

 ECF Nos. 51, 94, 121, 130, 141, and defer to the military’s judgments regarding

 military readiness. The reasoning also supports the Government’s Motion to

 Dismiss. See ECF No. 139.

 Dated: March 29, 2021                       Respectfully submitted,

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